           Case 1:18-cr-00247-JLT-SKO Document 55 Filed 04/24/19 Page 1 of 2



 1 NICHOLAS F. REYES, #102114
   LAW OFFICES OF NICHOLAS F. REYES
 2 1107 R STREET
   FRESNO, CA 93721
 3 Telephone: 559-486-4500
   Facsimile: 559-486-4533
 4 Email: nfreyeslaw@gmail.com

 5 Attorney for Defendant
   JAVIER JIMENEZ ALVAREZ
 6

 7                          IN THE UNITED STATES DISTRICT COURT

 8                             EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                        CASE NO. 1:18-CR-247-LJO-SKO
10                             Plaintiff,             APPLICATION FOR
                                                      RECONVEYANCE OF
11   v.                                               DUPLICATIVE DEED;
                                                      ORDER THEREON
12   JAVIER JIMENEZ ALVAREZ,
13                             Defendant.
14
           JAVIER JIMENEZ ALVAREZ, by and through his attorney of record, Nicholas F.
15

16 Reyes, hereby requests an order reconveying a duplicate deed for real property in this action.

17         On December 21, 2018, real property owned by JAVIER ALVAREZ and
18
     GUILLERMINA ALVAREZ was posted as collateral for the property bond for the release of
19
     defendant Javier Jimenez Alvarez. The deed of trust in the amount of $100,000 was
20

21 recorded in Kern County on property described as APN: 121-029-26, located at 1540 Haven

22 Drive, Arvin, CA 993203, Deed Document #218167967. This recording was incorrect.

23
           On December 27, 2018, the correct document was recorded, Deed #218169372.
24
     Therefore, it is respectfully requested that Deed #218167967 be reconveyed.
25
26 Dated: April 12, 2019                              /s/ Nicholas F. Reyes
                                                      NICHOLAS F. REYES, ESQ.
27                                                    Attorney for Defendant
28
                                                      JAVIER JIMENEZ ALVAREZ
                                                  1
29

30
           Case 1:18-cr-00247-JLT-SKO Document 55 Filed 04/24/19 Page 2 of 2



 1
                                              ORDER
 2

 3         IT IS SO ORDERED that Deed #218167967 for property located at 1540
 4
     Haven Drive, Arvin, California 93203, APN#: 121-029-26, posted for the property bond in
 5
     the above-captioned case be reconveyed to Javier Alvarez and Guillermina Alvarez, as it is
 6

 7 a duplicate deed.

 8 IT IS SO ORDERED.
 9
        Dated:   April 23, 2019                         /s/
10                                                UNITED STATES MAGISTRATE JUDGE
11

12

13

14

15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                                  2
29

30
